4:08-cr-03148-RGK-CRZ       Doc # 109     Filed: 01/22/09    Page 1 of 3 - Page ID # 214




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )
                                          )
                    Plaintiff,            )                  4:08CR3148-8
                                          )
             v.                           )
                                          )
ANGEL M. KOSKI,                           )                 MEMORANDUM
                                          )                  AND ORDER
                    Defendant.            )

      With several other defendants, Angel M. Koski is charged with involvement
in a methamphetamine conspiracy and possession of pseudoephedrine with intent to
manufacture methamphetamine. She faces a substantial period of time in prison if
convicted. She has denied the charges.

       Ms. Koski, who is 39 or so, appeared before me on January 22, 2009 to answer
allegations that she violated her conditions of pretrial release by attempting to solicit
Xanax while at a treatment center and by leaving the treatment center. At the
hearing, and by her own admission, I learned that Koski is addicted to prescription
Fentanyl and Hydrocodone. The pretrial services report indicates that the defendant
is in “poor health” and in the recent past the defendant was taking the following
additional drugs prescribed by her physician: Throxine, Klonopin, Percocet,
Cymbalta and Neurontin. The defendant claims to suffer from Lupus and
Fibromylagia. She also claims to have thyroid and depression problems. To
complicate matters, the defendant is four weeks pregnant. The treatment center had
been trying to wean the defendant from her prescription pain medications at the time
the alleged violations occurred. At the hearing, the defendant’s thought processes
were frantic and loose.
4:08-cr-03148-RGK-CRZ      Doc # 109    Filed: 01/22/09   Page 2 of 3 - Page ID # 215




      Because I have serious doubts about the defendant’s present competency, I did
not go forward with the hearing on the release violation. Instead, I enter the
following order.

      IT IS ORDERED that:

      1.     There is reasonable cause to believe the defendant is incompetent.

      2.     The defendant is remanded to the custody of the U.S. Marshal.

      3.     The United States Bureau of Prisons shall designate a medical center for
federal prisoners at which the defendant shall be examined pursuant to this order.
Upon such designation, the defendant (who is, and who shall remain, in federal
custody) shall be transported to the place designated by the Bureau of Prisons by the
U.S. Marshal. The defendant shall remain at the medical center until released to the
U.S. Marshal for return to Nebraska.

      4.     Pursuant to 18 U.S.C. § 4241, 18 U.S.C. § 4247(b)&(c) and other
applicable laws, the Bureau of Prison shall evaluate the defendant and determine: (a)
the defendant’s present mental and physical condition and (b) the defendant’s
physical and mental competency to stand trial. The Bureau of Prisons shall provide
me with a written report in accordance with the applicable laws and the terms of this
order. The evaluation shall be submitted to the court and defendant’s counsel within
60 days of the defendant being delivered to the medical center.

      5.      The defendant’s counsel shall promptly gather and provide the pretrial
services officer with such pertinent unprivileged information as may be accessible to
counsel.




                                         -2-
4:08-cr-03148-RGK-CRZ       Doc # 109    Filed: 01/22/09   Page 3 of 3 - Page ID # 216




      6.     The Assistant United States Attorney handling this case shall promptly
gather and provide the pretrial services officer with such pertinent information as may
be accessible to counsel.

       7.    The pretrial services officer assigned to this case (Mindy Bare) is
requested to facilitate the implementation of this order and coordinate this case with
the Bureau of Prisons. In particular, the officer shall obtain and transmit to the
Bureau of Prisons copies of the pretrial services report and the pretrial services
violations report (with attachments) and any other information that may aid the
Bureau of Prisons in its assessment. The officer is directed to expend every
reasonable effort to gather this information and provide it to the Bureau of Prisons as
soon as possible.

     8.     My chambers will insure that a copy of this memorandum and order is
promptly provided to Ms. Bare and the United States Marshal’s Service. My
chambers shall also cause a copy of this memorandum and order to be delivered to
Magistrate Judge Piester.

      9.    The time between January 22, 2009 and the ultimate determination of the
defendant’s competency shall be excluded from computation for purposes of the
Speedy Trial Act. See, e.g., 18 U.S.C. § 3161(h)(1).

       10. The Clerk shall provide a copy of this memorandum and order to counsel
of record for the government and all defendants. The Clerk shall also deliver a copy
of this memorandum and order to the United States Marshal.

      DATED this 22nd day of January, 2009.

                                        BY THE COURT:
                                        s/Richard G. Kopf
                                        United States District Judge

                                          -3-
